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UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
»Case No. C_V15-7158-GW(FFMX) Dace December 21,2015

 

Title Jukin Media, lnc. v. Zoomin.TV

 

Present§ 'The Honorable y GEORGE H. `WU, UNITED STATES DISTRICT JUDGE .

 

 

Javier Gonzalez ' Katie Thibodeaux v
Deputy Clerk l Court Reporter / Recorder ' Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Douglas C. Emhoff Neville J. Johnson
Tamany Vinson Bentz ` Jennifer Y. Ro

PRoCEEDINGs: DEFENDANT ZooMIN.Tv's MoTIoN To DISMISS CoMPLAINT
PURSUANT To FED. R. CIV. P. 12(b)(2), 12(b)(5) and 12(b)(6) [12]

The Court’s Tentative Ruling is circulated and attached hereto. Court hears oral argument For reasons
stated on the record, Defen_dant Zoomin" s motion is continued to January 28, 2016 at 8: 30 a. m. Parties
Will file a status report by January 26, 2016. -

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' Initials of Preparer JG

 

 

CV_90 (06/04) . CIVIL MINUTES - GENERAL ‘ Page 1 Ofl

 

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Jukin Media, Inc. v. Zoomin.TV, Case No. CV-15-7158-GW (FFM)
Tentative Ruling on Motion to Dismiss

I- §a_ckgmn_d
Jukin Media, Inc. (“Plaintiff”) brings this action against Zoomin.TV (“Defendant”) for

(l) copyright infringement and (2) unfair competition in violation of California Business &
Professions Code § 17200 et seq. See Compl., Docket No. l.

Plaintiff is a digital media company headquartered in Los Angeles, California with an
internet-based video library of over l7,000 pieces of original user-generated content. Id. 1 l.
Plaintiff has eleven full-time employees who are responsible for identifying newly content that is
likely to be popular, finding the owner of the content, and acquiring or licensing the content on
an exclusive basis. Ia’. 1111 l, ll. Plaintiff then uses the content to bring in advertising revenue;
licenses it to other distribution channels; and broadcasts it on Plaintiff’ s own website, Plaintifi’s
Youtube channel, and partner websites. Ia’. 111 1-2, ll-lZ.

Defendant is a Dutch company. Ia’. 11 6.' Defendant operates a website (www.Zoomin.tv)
that displays videos uploaded` by Defendant’s staff. Id. 11 7. Plaintiff alleges that Defendant also
publishes videos on various other websites, including AOL.com, MyVideo.de, Blinkx.com,
Dailyl\/Iotion_.com, Yahoo.com, Bild.de, MSN.com/de-de, DelealPlay.es, Tu.tv, and
YouTube.com. Ia'. Plaintiff alleges that at least thirty-four videos posted by Defendant belong to
Plaintiff; Plaintiff has filed copyright registration applications for the videos and is awaiting
issuance of the registrations Id. 111 17-18, 21-122. Plaintiff further alleges that Defendant has
visited Plaintiff-s Los Angeles headquarters and admitted that it infringed Plaintift’s content. Ia'.
11 17. In addition, Plaintiff alleges that, despite notice of Plaintiff’s rights in certain content,
Defendant continues to infringe lon Plaintiff’s rights by publishing Plaintiff’s content without
permission or a license to do so. Id. 111 4, 123-25.

Plaintiff requests: (l) damages or statutory damages, (2) preliminary and permanent
injunctive relief, (3) prejudgment interest, (4) reasonable attorneys’ fees and costs, and (5) such
other and further relief as the Court deems just'and proper. Ia’. at 30118-31:7.

Now pending before the Cou1t is Defendant’s l\/lotion to Dismiss. See Mot. to Dismiss
(“MTD”),` Docket No. 12. Defendant brings the Motion pursuant to Federal Rule of Civil
Procedure lZ(b)(S) to quash service, Rule lZ(b)(Z) for lack of personal jurisdiction, and R‘ule.

 

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l2(b)(6) for failure to state a claim. See id. Plaintiff has filed an Opposition, see Opp’n, Docket
No. 17, and Defendant has filed a Reply, see Reply, Docket No. 18. .
II. Legal Standards
A. Rule '12(b)(5): Service of Process
l Federal courts cannot exercise personal jurisdiction over a defendant without proper
service of process See Omnz' Capital Int’l Lta’ v. Rua'olf Woljjf & Co., Ltd., 484 U.S. 97, 104
(198'7). Insufficient service can result in dismissal under F ederal Rule of Civil Procedure
` l2(b)(5). See Fed. R. Civ. Proc. l2(b)(5). To determine whether service of process is proper,
courts look to the requirements of Federal Rule of Civil Procedure 4. Where a defendant
challenges the method of service of process under Rule 12(b)(5), the plaintiff bears the burden of
establishing that service was valid under Rule 4. See Brockmeyer v. May, 383 F.3d 798, 801 (9th
Cir. 2004).
B. Rule 12(b) (2): Personal .Iurisdiction
“In personam jurisdiction, simply stated, is the power of a court to enter judgment against
a person.” SEC v. Ross, 504 F.`3d 1130, 1138 (9th Cir. 2007). In filing a complaint, the plaintiff
bears the burden of establishing the court’s personal jurisdiction over a defendant See Doe v.
-'Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001). The defendant may move to dismiss the case
for lack of personal jurisdiction pursuant to F ederal Rule of Civil Procedure 12(b)(2). When a
district court acts on a defendant’s motion to dismiss without holding an evidentiary hearing, the
plaintiff “need make only a prima facie showing of jurisdictionalfacts to withstand the motion to
dismiss.” See Doe, 248 F.3d at 922 (citing Ballara’ v. Savage, 65 F.3d 1495, 1498 (9th Cir.
1995)); see also Harris Ruls/ty & Co. Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122,
1130 (9th Cir. 2002). Where not directly controverted, the plaintiffs version of the facts is taken
as true, and any conflicts between the facts contained in the parties’ affidavits-must be resolved
in the plaintiff’ s favor. See Doe, 248 F.3d at 922. However, the court “may not assume the truth
of allegations in a pleading which are contradicted by affidavit.” Mavrix Photo, Inc. v. Brand
Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011).
Where there is no applicable federal statute governing personal jurisdiction, the district
court applies the law of the state in which the district court sits. See id. California permits “[a]
court of [the] state [to] exercise jurisdiction on any basis not inconsistent with the Constitution of

this state or of the United States.” Cal. Civ. Proc. Code § 410.10. Accordingly, due process

 

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j requirements are satisfied when personal jurisdiction is asserted over a nonresident defendant
that has “certain minimum contacts with [the forum] such that the maintenance of the suit does
not offend traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington,
326 U.S. 310, 316 (1945) (citations and quotations omitted).

Personal jurisdiction may be either general or specific. See Helicopteros_ Nacionales De
Coloml)ia, S.A. v. Hall, 466 U.S. 408, 414 n.8, n.9 (1984). General personal jurisdiction exists

b where a nonresident defendant’s affiliations with the forum state are so “continuous and
systematic as to render them essentially at home in the forum state.” Goodyear Dunlop Tires

' Operations, S.A., et al. v. Brown, _ U.S. _, 131 S.Ct. 2846, 2851 (2011) (citing Im"l Slzoe Co.,
326 U.S. at 317); see also Daimler AG v. Baaman, _ U.S. _, 134 S.Ct. 746, 749 (2014).
Where general jurisdiction does not exist, the Ninth Circuit has established a three-factor test to
determine whether the exercise of specific jurisdiction is appropriate: v

(1) The non-resident defendant must purposefully direct his

activities or consummate some transaction with the forum or

resident thereof; or perform some act by which he purposefully

avails himself of the privilege of conducting activities in the_
forum, thereby invoking the benefits and protections of its laws;

(2) the claim must be one which arises out of or relates to the

defendant’s forum-related activities; and (3) the exercise of
jurisdiction must comport with fair play and substantial justice, i.e.

it must be reasonable

Schwarzenegger v. Fred Martz'n Motor Co., 374 F.3d 797, 802 (9th Cir. 2004) (quoting Lake v.
Lake, 817 F.2d 1416, 1421 (9th Cir. 1987)); see also Boschello v. Hansing, 539 F.3d 1011, 1016
1 (9th Cir. 2008). l '
C. Rule 12(b)(6): Failure to State a Claim
Under Federal Rule of Civil Procedure 12(b)(6), a party may seek dismissal of a claim for `
failure to state a claim upon which relief can be granted Fed. R. Civ. Proc. 12(b)(6). A court
may grant such a dismissal only where the pleading party fails to present a cognizable legal
theory or to allege sufficient facts to support a cognizable legal theory. Shroyer v. New Cingular
Wireless Servs., ]nc., 622 F.3d 1035, 1041 (9th Cir. 2010). When considering a motion to
n dismiss under Rule 12(b)(6), the court must construe the complaint in the light most favorable to
the plaintiff, accept all allegations of material fact as true, and draw all reasonable inferences -
from well-pleaded factual allegations Gompper v. VISX, lnc., 298 F.3d 893, 896 (9th Cir.
2002); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.), amended on denial of

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reh ’g, 275 F.3d 1187 (9th Cir. 2001); Cahill v. Lz'berty Mutual Ins. Co., 80 F.3d 336, 337-38 (9th
vCir. 1996). The court is not required to accept as true legal conclusions couched as factual
allegations Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where a plaintiff facing a 12(b)(6)'
motion has pled “factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged,” the motion should be denied. Id.; Sylvia
Lanaj‘l`eld'Trust v. Cily ofLos Angeles, 729 F.3d 1189, 1191 (9th Cir. 2013). But if “the well-
pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the
complaint has alleged - but it has not shown - that the pleader is entitled to relief.” Iqbal, 556
U.S. at 679 (alteration marks and citation omitted). y
III. An_al};s§ `

A. Service of Process

Defendant is a Dutch corporation with its principal place of business in the Netherlands, a
party to the Hague Convention. See_ Decl._ of Jan Riemens (“Riemens Decl.”) 11 2, Docket No.
12-2. Federal Rule of Civil Procedure 4(h) provides that a domestic or foreign corporation, or a
partnership or other unincorporated association, generally must be served: l -

(1) in a judicial district of the United States:
(A) 1n the manner presc1ibed by Rule 4(e)(l) for serving an
individual; or
(B) by delivering a copy of the summons and of the
complaint to an officer, a managing or general agent, or any
other agent authorized by appointment or by law to receive
service of process and - if the agent is one authorized by
statute and the`statute so requires ~ by also mailing a copy
of each to the defendant; or
(2) at a place not within any judicial district of the United States, in
any manner prescribed by Rule 4(f) for serving an individual,
except personal delivery under (f)(2)(C)(i).

Fed. R. Civ. Proc. 4(h). Rule 4(1) requires that service outside of the United States be effectuated
“by any internationally agreed means of service that is reasonably calculated to give notice, such
as those authorized by the Hague Convention on the Service Abroad of Judicial and Extrajudicial
Documents.” See Fed. R. Civ. Proc. 4(f)(l). However, “if there is no internationally agreed
means, or if an international agreement allows but does not specify other means,” service may be
effectuated “by a method that_is reasonably calculated to give notice.” See Fed. R. Civ. Proc.
4(1)(2). Service may also be effectuated “by other means not prohibited by international

agreement as the court orders.” See Fed. R. Civ. Proc. 4(1)(3).

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Defendant contends that service should be quashed because Plaintiff served Defendant
through the purported service of process on Matt Slan1 - a freelance consultant working in leased
office space in a'general office building in Los Angeles,- California ~ for whom a copy of the
Summons and Complaint was left with the building’s general receptionist See Mot. at 13:9-17;
see also Decl. of Matt Slan (“Slan Decl.”) 1111 3, 5, Docket No. 12-3. After the receptionist
received the documents, she called Slan to inform him that there was a bundle of papers for
Defendant at the reception desk. See Slan Decl. 11 5. Slan did not communicate or sign any
documents for the receipt of the papers. Id. After discovering that the papers included a
Summons and Complaint, Slan e-mailed a copy of the papers to Defendant and mailed the papers
to Defendant in the Netherlands. Id.' 11 6. Defendant argues that neither Slan nor the receptionist

v is an agent authorized to receive service of process on its behalf and that Plaintiff’s purported
service is thus invalid.

Given Slan’s title, see supra note l, and demonstrated ability to know what to do with the n
Summons and Complaint, the Court would find service of process on Slan could possibly be
sufficient under Rule 4. See Direcl‘ Mail Specialists, Inc. v. Eclat Compurerized Techs., lnc., 840
F.2d 685, 688 (9th Cir. 1988) (“Despite the language of the Rule, service of process is not

"ilimited solely to officially designated officers, managing agents, or agents appointed by law for
the receipt of process. The rules are to be applied in a manner that will best effectuate their
purpose\of giving the defendant adequate notice. Thus, the service can be made ‘upon a
representative so integrated with the organization that he will know what to do with the papers. z
Generally, service is sufficient when made upon an individual who stands in such a position as to n
render it fair, reasonable and just to imply the authority on his part to receive service.”’) (quoting
Top Form Mills, Inc. v. Socz'edad Nationale Industrz`a Applz'cazz`oni Viscosa, 428 F.Supp. 1237,
1251 (S.D.N.Y. 1977); Insarance Co. of N. Am v. _S/S “Hellem'c Challenger,” 88 F.R.D. 545,
547 (S.D.N.Y. 1980)). Plaintiff, however, bears the burden of demonstrating that it in fact

effectuated service on Slan.

Plaintiff contends that Defendant, as “[t]he party alleging improper service of process[,]

 

' ' Slan has been given the title of Vice President of Sales and Business Development for Defendant, but performs his
duties pursuant to a nine-month contract and with the limited role of conducting research for Defendant on potential
opportunities for Defendant’s Multi-Channel Network (“MCN”) services in North America. See Slan Decl. 11 3.

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bears a ‘substantial’ burden to prove [it] is entitled to relief.”2 'See Reply at 15:7-11. Plaintiff
argues that Slan’s testimony,` which contradicts the signed proof of service indicating that the
process server personally served Slan with the Summons and Complaint, “does not rise to the
level of ‘strong and convincing evidence’ necessary to rebut the presumption of valid service.”
See id. at 15:12-24; see also S.E.C. v. Inz‘ernet Sols. for Bus. lnc., 509 F.3d 1161, 1165 (9th Cir.
2007) (“A signed return of service constitutes prima facie evidence of valid service which can be
overcome only by strong and convincing evidence.”). The Court finds that Slan’s declaration
convincingly demonstrates that the process server did not personally serve Slan; the declaration
clearly and believany describes the`circumstances under which Slan received the Summons and
Complaint and generally aligns with scenario set forth in the process-serving company’s notes3
Accordingly, the Court would dismiss this action for insufficient service of process

B. Personal Jurisdiction

Plaintiff alleges that the Court has personal jurisdiction over Defendant because
Defendant “is doing business in the state of California, and the acts of infringement complained
of in this Complaint took place in the state of California, and did cause harm within the state of

California.” Compl. ‘[l 9. In its Opposition, Plaintiff only contends that the Court may exercise

specific personal jurisdiction over Defendant See Opp’n at 5:19-20. Accordingly, the Court

does not discuss whether the exercise of general jurisdiction over Defendant would be
appropriate

Specific jurisdiction exists when: (1) a nonresident defendant purposefully directs his
activities to the forum or performs some act by which he purposefully avails himself of benefits

and protections of its laws, (2) the claim is one which arises out of or relates to the defendant’s

 

2 To the extent Plaintiff suggests that Defendant bears the burden to establish improper service in the context of this-
motion to dismiss, the Court would disagree See S.E.C. v. Internet Sols. for Bus. lnc., 509 F.3d 1161, 1165 (9th Cir.
2007). A defendant would, however, bear the burden of proving that service did not occur where the defendant is
“moving to vacate a default judgment based on improper service of process [and] had actual notice of the original
proceeding but delayed in bringing the motion until after entry of default judgment.” Id. '

3 Plaintiff’ s counsel, Tammy Vinson Bentz (“Bentz”), has provided an e-mail originally sent from ProLegal
Customer Service to Bentz’s assistant, who»forwarded the e-mail to Bentz on September 30,.2015. See Bentz Decl.
1[ 12, Ex. I, Docket No. 17-1. The e-mail includes notes regarding the alleged service of process on Slan that
concludes with the following: “1 spoke to the security guard downstairs and learned that the receptionist for that
office usually arrives at about 9am.” ld. Following a paragraph break, the email continues in what seems to be a
voice other than that of the process server: “We served Matt Slan at 9:35 AM. The server had a photo of him and
the person served matched the photo.” Id. This portion of the evidence appears to present hearsay issues and is
somewhat ambiguous 'For instance, the phrase “the person served matched the photo” could mean that the
receptionist, Who was served, confirmed that Slan was the man in the photo,

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forum-related activities and (3) the exercise of jurisdiction would be reasonable See
Schwarzenegger, 374 F. 3d at 802. The plaintiff bears the burden on the first two prongs, see
Sher v Johnson, 911 F. 2d 1357, 1361 (9th Cir. 1990), but the burden then shifts to the defendant
to a make a “compelling case’ ’that the exercise of jurisdiction would not be reasonable See
Burger King Corp. v. Rudzewz'c'z, 471 U,S. 462, 476-78 (1985). In addition, “[g]reat care and
reserve should be exercised when extending our notions of personal jurisdiction into the '
international field.” Core-Venr Corp. v. Nobel Indas. AB, 11 F.3d 1482, 1489 (9th Cir. 1993).-~

With respect to the first prong, the Court applies a purposeful direction analysis to
Plaintiff’ s copyright infringement action. See Brayton Purcell LLP v. Re`cordon & Recordon,
606 F.3d 1124, 1128 (9th Cir. 2010). The Ninth Circuit evaluates purposeful direction using the
three-part Calder “effects” test. See id. (citing Calder v. Jones,~465 U.S. 783 (1984)). “Under
this test, ‘the defendant allegedly must have (1) committed an intentional act,v (2) expressly
aimed at the forum state, (3) causing harm that the defendant knows is likely to be suffered in the
forum state.”’ Id. (quoting Yahoo./ lnc. v. La Ligue Contre Le Racz'sme Et L ’Antz'semiz‘isme, 433
F.3d 1199, 1206 (9th Cir. 2006) (en banc)).

l 1. Intentional Act ' q

First, the Court addresses whether Defendant committed an intentional act by reposting
the allegedly infringing video content on its website. “‘Intentional act’ has a specialized
meaning in the context of the Calder effects test.” -Wash. Shoe Co. v. A-Z Sporring Goods lnc.,
704 F.3d 668, 673 (9th Cir. 2012) (quoting Schwarzenegger, 374 F.3d at 806)). The “intentional
act” prong of the Calder test is not to be confused with the allegation that a defendant acted
willfully. Id. Rather, ‘.‘an intentional act is an external manifestation of the actor’s intent to
perform an actual, physical act in the real world, not including any of its actual or intended
results.” Id. Defendant appears to concede that it published at least some of the thirty-four
alleged infringing videos on its website.4. See Riemens Decl. 1111 11-13.` Accordingly, Defendant
has committed an intentional act within the meaning of the Calder test See Mavrix Photo, lnc.

v. Brand Techs., [nc., 647 F.3d 1218, 1229 (9th Cir. 2011') (concluding that “[t]here [wa]s no

 

4 Riemen’s declaration also states that several of the videos Were never published by Defendant, many of the videos
were produced' 1n foreign languages and directed at Defendant’ s European audience, and that “[a]t the time that
[Defendant] published any of the alleged infringing videos on its website [Defendant] had no way of knowing and
did not know that [Plaintiff] purportedly submitted U. S copyright registiations of the alleged infringing video
content on or around the same time ” See Riemens Decl 1111 1113.

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question that [the defendant] acted intentionally [by] reposting . . . allegedly infringing photos”
after the plaintiff registered its copyright in the photos and posted them on its website).
2. Expressly Aimed k

Second, the Court must determine whether Defendant’s conduct was expressly aimed at
the state of California. “In prior cases, [the Ninth Circuit] ha[s] struggled with the question [of]
whether tortious conduct on a nationally accessible website is expressly aimed at any, or all, of
the forums in which the website can be viewed.” Mavrix Phoro, Inc., 647 F.3d at 1229
(collecting cases). “On the one hand, [it has] made clear that ‘maintenance of a passive website
alone cannot satisfy the express aiming prong.”’ Id. (quoting Brayz‘on Purcell, 606 F.3d at
1129). “On the iother_, [it has] held that ‘operating even a passive website in conjunction with
‘something more’ ~ conduct directly targeting the forum ~ is sufficient.” Id.v (quoting Rio Props.,
lnc. v. Rio Int’l Inlerll`nk, 284 F.3d 1007, 1020 (9th Cir. 2002)). The Ninth Circuit has
considered several factors in determining whether a nonresident defendant has done “something
more,” including the “interactivity of the defendant’s website,’i the “geographic scope of the
defendant’s commercial ambitions,” and “whether the defendant ‘individually targeted’ a
plaintiff known to be a forum resident.” Id. (citations omitted).

Here, the bulk of the evidence before the Court indicates'that Defendant’s conduct was
not expressly aimed at the state of California Defendant is a Dutch corporation with its
principal place of business in the Netherlands. See Riemens Decl. 11 2. Defendant is not
registered to do business, and does not do business, in Californiaor in the United States. Id. 11 6.
Defendant does not solicit business in the California or the United States and does not market or
advertise services to residents of California or the United States. Id. 1111 4, 6-7, 14, 17. Defendant
does not publish videos on websites other than its own website, which “is not an active consumer
website.” Id. 11 9. Twen_ty-nine of the thirty-four alleged infringing videos were never released
by Defendant to third-party publishers with a corporate presence in the United States, and most
of the videos were produced in a foreign language Id. 11 13. The five videos containing English
were meant for English-speaking European countries Id. Defendant’s only contacts with the
United States consist of partnership agreements with the European subsidiaries and affiliates of
U.S. based companies, including AOL, YouTube, and Yahoo, but Defendant has no control over
these companies’ uses of the videos obtained from Defendant pursuant to the partnership

agreements Id. 1111 14, 17. As discussed sapra, Defendant employs a single, short-term

 

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consultant in Los Angeles, California, who conducts research for Defendant regarding new
partnership opportunities See Slan Decl. 113. n

Plaintiff contends that the express aiming requirement is nonetheless_satisfied because
Defendant willfully engaged in infringing activities after receiving notice of the infringement and
its impact in California. See Opp’n at 9:14-28. “[W]here a defendant knows ~ as opposed to
being able to foresee - that an intentional act will impact another state, the ‘expressly aimed’
requirement is satisfied.” Washington Shoe Co., 704 F.3d at 677 (citing Amz'nz' ]nnovatz'on Corp.
v. JS Imps., Inc., 497 F.Supp.2d 1093, 1105-08 (C.D. Cal. 2007) (finding jurisdiction proper
when California corporation alleged that New York and Maryland entities willfully infringed its
copyright and design patents, even though defendants had no connection to California besides
knowing that corporation was located in California)). More specifically, a defendant’s “willful
infringement of [a forum-resident’sj copyright, and its knowledge of both the existence of the
copyright and the forum of the copyright holder, is sufficient ‘individualized targeting’ to
establish the ‘something more’ necessary to satisfy the express aiming requirement.”5 Id. at 67 8-
79. Here, however, Plaintiff has not made a prima facie showing of facts supporting the exercise
of jurisdiction on this basis See Doe, 248 F.3d at 922 (indicating that a plaintiff “need make
only a prima facie showing of jurisdictional facts to withstand the motion to dismiss”) (citing
Ballard, 65 F.3d at 1498). , l

Plaintiff indicates that Defendant’s CEO had visited Plaintiff’s headquarters in Los
Angeles, California to discuss a possible business relationship, see Decl. of Cameron Saless
(“Saless Decl.”) jj 5, Docket No. 17-2, which demonstrates that Defendant was aware of
Plaintiffs forum. As to Defendant’s knowledge of Plaintiff’ s copyrights Plaintiff indicates that
it notified Defendant of alleged infringement via e-mail, see id. 1111 6-7, and provides the chain of
e-mails between the parties that generally refer to allegedly infringing content, see id. Ex. A.
The proffered evidence, however, does not specifically identify any of the allegedly infringing

content Moreover, it is unclear whether Plaintiff had even submitted copyright registration

 

5 “To establish a prima facie case of copyright infringement a plaintiff must demonstrate (1) ownership of a valid
copyright, and (2) copying of constituent elements of the work that are original.” Range Rd. Music, Inc. v. E. Coast
Foods, Inc., 668 F.3d 1148, 1153 (9th Cir. 2012) (internal quotation marks omitted). A plaintiff may be entitled to
additional remedies if copyright violation was willful; “‘ [t]o prove ‘willfulness'l under the Copyright Act, the
plaintiff must show (1) that the defendant was actually aware of the infringing activity, or' (2) that the defendant’s
actions were the result of ‘reckless disregard’ for, or ‘willful blindness’ to, the copyright holder’s rights.”’ Wash.
Shoe Co., 704 F.3d at 674 (quoting Louis Vuitton Malletier, S.A. v. Akanoc Solutions, lnc., 658 F.3d 936, 944 (9th

cir. 2011)).

 

 

 

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applications for the content at that time, let alone notified Defendant of the existence of any
copyrights lndeed, Defendant’s evidence indicates that Plaintiff never told Defendant that it
held copyrights for any specific content before commencingthis action, with the exception of
notice regarding one video that was thereafter removed See Riemens Reply Decl. 11 22, Docket
No. 18-1. Under these circumstances the Court cannot conclude that Defendant expressly aimed
its conduct at the forum by willfully infringing Plaintiff"s copyrighted content after being
notified of Plaintiff"s copyrights and forum.l Accordingly, the Court should conclude that
Plaintiff has failed to present a prima facie case of purposeful direction by Defendant sufficient -
to survive a motion to dismiss for lack of personal jurisdiction
IV- M

l The Court would grant Defendant’s Motion to Dismiss for insufficient service'of process
and lack of personal jurisdiction Given that the Court cannot exercise personal jurisdiction over

Defendant, it need not address Defendant’s Motion to Dismiss for failure to state a claim.

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